         Case 1-18-45676-cec       Doc 14     Filed 10/29/18     Entered 10/29/18 15:08:09




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

                                                       :
In re:                                                 :       Chapter 11
                                                       :
WILLIAMS WORLDWIDE                                     :       Case No. 18-45676 (CEC)
SHIPPING & TRADING, INC.,                              :
                                                       :
                                 Debtor.               :
                                                       :


                  NOTICE OF APPEARANCE AND REQUEST FOR NOTICE

                  PLEASE TAKE NOTICE that McCarter & English, LLP hereby enters its

appearance on behalf of Wells Fargo Bank, N.A. (“Wells Fargo”), a creditor and party-in-interest

in these bankruptcy proceedings, and, pursuant to Rules 2002 and 9010 of the Federal Rules of

Bankruptcy Procedure, and Section 1109(b) of the Bankruptcy Code, requests that all notices

given or required to be given, and all papers served or required to be served, in these proceedings

be given or served upon the following counsel of record for Wells Fargo:

                  Joseph J. Cherico, Esq.
                  McCarter & English, LLP
                  One Canterbury Green
                  201 Broad St.
                  Stamford, CT 06901
                  jcherico@mccarter.com

                  The foregoing request includes not only the notices and papers referred to in the

Rules specified above, but also includes, without limitation, any application, motion, petition,

pleading, request, complaint or demand, whether formal or informal, whether written or oral, and

whether transmitted or conveyed by hand delivery, mail, telephone, facsimile or otherwise,

which affects or may affect, in any way, the rights or interests of Wells Fargo with respect to the

Debtor in these proceedings or any property or proceeds in which the Debtor may claim an

interest.


ME1 28436481v.1
       Case 1-18-45676-cec         Doc 14    Filed 10/29/18     Entered 10/29/18 15:08:09




                  Neither this Notice of Appearance nor any subsequent appearance, pleading,

claim or suit is intended to waive: (i) Wells Fargo’s right to have final orders in non-core

matters entered only after de novo review by a District Court judge; (ii) Wells Fargo’s right to a

jury trial in any proceeding so triable herein, or in any case, controversy or proceeding related

hereto; (iii) Wells Fargo’s right to have the reference withdrawn by the District Court in any

matter subject to mandatory or discretionary withdrawal, including proceedings over which the

Bankruptcy Court lacks constitutional authority to enter final judgments; or (iv) any other rights,

claims, defenses, setoffs or recoupments to which Wells Fargo is or may be entitled under

agreements, in law or in equity, all of which rights, claims, actions, defenses, setoffs and

recoupments are expressly reserved.

Dated: October 29, 2018

                                               McCARTER & ENGLISH, LLP



                                               By: /s/ Joseph J. Cherico
                                                      Joseph J. Cherico (jc5830)

                                               One Canterbury Green
                                               201 Broad Street
                                               Stamford, CT 06901
                                               Tel.: (203) 399-5900
                                               Fax: (203) 399-5800
                                               Email: jcherico@mccarter.com

                                               Attorneys for Creditor Wells Fargo Bank, N.A.




                                              2
ME1 28436481v.1
       Case 1-18-45676-cec         Doc 14     Filed 10/29/18     Entered 10/29/18 15:08:09




                                   CERTIFICATE OF SERVICE

                  I hereby certify that, on October 29, 2018, a copy of the foregoing Notice of

Appearance and Request for Notice was filed electronically and served by mail on anyone unable

to accept electronic filing. Notice of this filing will be sent by e-mail to all parties by operation

of the Court’s electronic filing system or by mail to anyone unable to accept electronic filing as

indicated on the Notice of Electronic Filing. Parties may access this filing through the Court’s

CM/ECF System.



                                                       /s/ Joseph J. Cherico
                                                       Joseph J. Cherico (jc5830)
                                                       McCarter & English, LLP
                                                       One Canterbury Green
                                                       201 Broad Street
                                                       Stamford, CT 06901
                                                       Tel.: (203) 399-5900
                                                       Fax: (203) 399-5800
                                                       Email: jcherico@mccarter.com




ME1 28436481v.1
